         Case 3:11-cr-00697-CRB Document 151 Filed 08/01/14 Page 1 of 12



 1   STEVEN G. KALAR
     Federal Public Defender
 2   JODI LINKER
     Assistant Federal Public Defender
 3   450 Golden Gate Avenue
     San Francisco, CA 94102
 4   Telephone: (415) 436-7700
     Telefacsimile: (415) 436-7706
 5
     Counsel for Defendant BOLDS
 6
 7
 8                          IN THE UNITED STATES DISTRICT COURT
 9                       FOR THE NORTHERN DISTRICT OF CALIFORNIA
10                                   SAN FRANCISCO DIVISION
11
12   UNITED STATES OF AMERICA,             )     No. CR-11-0697 CRB
                                           )
13                     Plaintiff,          )     DEFENDANT’S SENTENCING
                                           )     MEMORANDUM
14   v.                                    )
                                           )     Date: August 6, 2014
15   RODERICK HAROLD BOLDS,                )     Time: 2:00 p.m.
                                           )     Court: The Honorable Charles R. Breyer
16                     Defendant.          )
     _____________________________________ )
17
18
19
20
21
22
23
24
25
26
27
28
          Case 3:11-cr-00697-CRB Document 151 Filed 08/01/14 Page 2 of 12



 1           After over three years of litigation, Mr. Bolds now appears before the court for
 2   sentencing. As the Court is well aware, on October 31, 2012, defendant Roderick Bolds entered
 3   into a plea agreement with the government to resolve the above-referenced case. Under the terms
 4   of that agreement – in light of the full range of conduct alleged – the parties jointly agreed to
 5   recommend a sentence between 9 and 11 years. Mr. Bolds later withdrew his plea of guilty and
 6   exercised his constitutional right to proceed to trial. At trial, he was convicted of some but not
 7   all of the allegations against him. Undoubtedly, however, the evidence at trial was much more
 8   favorable to Mr. Bolds than the government had proffered pre-trial. Indeed, one of the
 9   government’s lead witnesses, and the witness whose statements pretrial contained some of the
10   most egregious allegations against Mr. Bolds, was shown to be completely fabricating her
11   version of the events. Nonetheless, the government now seeks a sentence of 30 years
12   imprisonment! Three times the sentence it agreed to pretrial and beyond the pale of any
13   reasonable sentence.
14           A question often present at a sentencing hearing is the following: what happened in the
15   defendant’s life that got him to the place where he is today? The letters that have been submitted
16   by his family, which provide the most detailed and clear explanation of how Mr. Bolds is where
17   he is today. If the Court does nothing else, it should take the time to read each of those letters in
18   full. Upon doing so, it will be evident that, in light of all of the factors under 18 U.S.C. §
19   3553(a) and the applicable mandatory minimums, a sentence of ten years imprisonment is more
20   than sufficient in this case. Such a sentence is higher than was possible under his original deal (9
21   years) and achieves all of the sentencing goals without being an excessive and unnecessary
22   punishment.
23                                            BACKGROUND
24   I.      MR. BOLDS SUFFERED A TUMULTUOUS AND DIFFICULT UPBRINGING
             MARRED BY POVERTY AND NEGLECT BUT GUIDED BY HIS CONCERN
25           AND CARE FOR HIS SISTERS
26           The PSR summarizes Mr. Bolds incredibly difficult upbringing. What is clear from that
27   background is that Mr. Bolds was abandoned and left to fend for himself at a young age. As a
28   means of survival, he learned how to hustle to get what he needed. But what is important to

     U.S. v. Bolds, Case No. 11-0697 CRB;
     Def.’s Sentencing Memo.                           1
           Case 3:11-cr-00697-CRB Document 151 Filed 08/01/14 Page 3 of 12



 1   recognize – and what is so clearly illustrated by the letter from his sister Kelli Dunnaway – is that
 2   Mr. Bolds’ primary goal in those efforts was to provide food, clothing, shelter and support to his
 3   younger sisters. He did everything possible to make sure that they went to school, stayed out of
 4   trouble, and had their needs met. His sister has no doubt that she would not be a police officer
 5   today had it not been for the sacrifices and efforts made by Mr. Bolds to raise her.
 6           More profound then any characterization of Mr. Bolds’ upbringing, are those first hand
 7   accounts presented by his sister, father and grandfather in their letters to the Court. Linker Decl.,
 8   Ex. A, B & C. Mr. Bolds will not repeat those statements here and implores the Court to read
 9   those letters in their entirety. They are a moving and compelling account of Mr. Bolds’ personal
10   history.
11
     II.     THE EVIDENCE AT TRIAL SHOWED FAR LESS EGREGIOUS OFFENSE
12           CONDUCT THAN PROFFERED BY THE GOVERNMENT PRETRIAL
13           The testimony at trial revealed the following: By the time Mr. Bolds and SG met in July
14   2011, SG had run away from an abusive home and an abusive family. She had been abused by a
15   family member at home, and rather than stay at home and continue to suffer, she ran away from
16   home. She was then placed in a group home, but she did not want to stay there either so she ran
17   away from the group home. She was living on the streets, and by the time she met Mr. Bolds in
18   July 2011, she had been living on the streets for months.
19           She earned money living on the streets to support herself and her dog; and she also found
20   a way to support her addiction to methamphetamine – an addiction that she had long before she
21   met Mr. Bolds. She was deep in the throws of that addiction when she met Mr. Bolds. They met
22   when she was walking the streets of Reno late one night on her own. She approached him and
23   asked him for a cigarette; they started talking and they instantly hit it off.
24           She told him she had graduated from high school. She told him she was eighteen. She
25   told him she was homeless and living on the streets. When Mr. Bolds invited SG back to his
26   hotel room after talking for only a few minutes, she readily agreed. She was intrigued by him
27   and interested in him. She also was interested in getting her next fix. They hung out together in
28   the hotel room and talked. She told him about the difficulties that she had at home and all she

     U.S. v. Bolds, Case No. 11-0697 CRB;
     Def.’s Sentencing Memo.                            2
            Case 3:11-cr-00697-CRB Document 151 Filed 08/01/14 Page 4 of 12



 1   had been through. She explained how all of this had led to her running away and living on the
 2   streets. He also told her about his struggles and what he had been through.
 3            SG wanted to smoke some methamphetamine, so she brought him to her drug dealer so
 4   he could buy her meth. She was already a heavy addict and knew where and how to get her
 5   drugs. When Mr. Bolds talked to her about needing to go back to Oakland the next day, she
 6   agreed to go. She had nothing in Reno to keep her there and lots that she wanted to run away
 7   from. The video of her getting on and off the greyhound bus shows that she went completely
 8   voluntarily to Oakland – she was walking on her own and not seeking help from any of the
 9   numerous people around here.
10            When they arrived in Oakland, they went to the apartment where Mr. Bolds had been
11   living with his cousin. It was a small, run down apartment, but the apartment where Mr. Bolds
12   had been residing from some period of time. The bars on the windows and special locks on the
13   doors were not to keep SG in the house, but were the normal security measures in that rough
14   neighborhood. None of these locks and bars prevented SG from leaving if she had wanted to.
15            Just as she had in Reno, she needed to make some money to get by, so did what all too
16   many desperate people do when they have few choices and need to make some money – she sold
17   the one thing she had, her body. She did not do this because Mr. Bolds made her and she did not
18   do this because he forced her or coerced her; she did this because she needed to make money to
19   support her drug habit and her life.
20            After just about a week in the Bay Area, she got arrested for prostituting. Just as she had
21   done with everyone, including Mr. Bolds, she lied to the police about her age – she told them she
22   was 18, she gave a fake date of birth and a fake name. She persisted in those lies. Only after
23   being confronted about her true identity by the police did she finally come clean with them about
24   her real identity.
25   III.     PROCEDURAL BACKGROUND
26            On July 11, 2011, “S.G.” was arrested by the San Francisco Police Department (“SFPD”)
27   for loitering for the purpose of prostitution. On July 21, 2011, Mr. Bolds was arrested by
28   Alameda County authorities for a violation of parole based on the instant offense conduct. On

     U.S. v. Bolds, Case No. 11-0697 CRB;
     Def.’s Sentencing Memo.                           3
           Case 3:11-cr-00697-CRB Document 151 Filed 08/01/14 Page 5 of 12



 1   September 27, 2011, Mr. Bolds was charged in the instant two count indictment with a violation
 2   of 18 U.S.C. § 1591(a), sex trafficking of children or by force, and 18 U.S.C. § 2423(a),
 3   transportation of minor with intent to engage in prostitution. He was writted over from state
 4   custody, and made his initial appearance on the federal indictment on October 13, 2011. While
 5   Mr. Bolds has been in continuous custody since July 21, 2011, because the first six months of his
 6   time in custody will apply to his parole violation for the same offense conduct, he will get no
 7   credit from the Bureau of Prisons for that six months in custody unless the Court reduces his
 8   sentence by six months.
 9           On October 31, 2012, after a settlement conference with a magistrate judge, Mr. Bolds
10   pleaded guilty to a superseding information charging him with a violation of 18 U.S.C. §
11   1594(c), conspiracy to engage in sex trafficking of children, pursuant to a plea agreement with
12   the government (ECF Document 55). That agreement provided that the parties would each
13   recommend a sentence between 110 months and 137 months. Id. On August 8, 2013, the Court
14   granted Mr. Bolds’ motion to withdraw his plea of guilty. The matter proceeding to trial.
15           On December 12, 2013, the jury returned its verdict. Mr. Bolds was convicted of one
16   count of sex trafficking of a minor in violation of 18 U.S.C. § 1591 (Count 1) and one count of
17   transportation of a minor for purposes of prostitution (Count 2) in violation of 18 U.S.C. § 2423.
18   As to the violation of section 1591 in Count 1, the jury reached a unanimous guilty verdict as to
19   one means of violating that statute (regarding the victim’s age), but in failing to return a
20   unanimous verdict as to the other means of violating that statute (whether force fraud or coercion
21   was used), he was acquitted of that aspect of the charge. Each of the two counts of conviction, §
22   2423 & § 1591, carry a ten year mandatory minimum term of imprisonment. Importantly,
23   however, because he was not convicted of using force fraud and coercion, the fifteen year
24   mandatory minimum does not apply. See 18 U.S.C. § 1591(b).
25   ///
26   ///
27   ///
28   ///

     U.S. v. Bolds, Case No. 11-0697 CRB;
     Def.’s Sentencing Memo.                           4
          Case 3:11-cr-00697-CRB Document 151 Filed 08/01/14 Page 6 of 12



 1                                              ARGUMENT
 2   I.      A SENTENCE OF TEN YEARS IMPRISONMENT IS SUFFICIENT TO
             ACHIEVE THE GOALS OF SENTENCING
 3
             In sentencing Mr. Bolds, this Court must consider all of the directives set forth in 18
 4
     U.S.C. section 3553(a); the sentencing guidelines are only one factor among many to be
 5
     considered by the Court. See United States v. Booker, 543 U.S. 220 (2005); Kimbrough v.
 6
     United States, 128 S.Ct. 558, 570 (2007). “The overarching statutory charge for a district court
 7
     is to impose a sentence sufficient, but not greater than necessary” to achieve the goals of section
 8
     3553(a). United States v. Carty, 520 F.3d 984, 991 (9th Cir. 2008) (internal quotations omitted).
 9
     Those goals include the need to reflect the seriousness of the offense, to promote respect for the
10
     law, to provide just punishment, to afford adequate deterrence, to protect the public from further
11
     crimes; and to provide the defendant with needed educational or vocational training, medical
12
     care, or other correctional. 18 U.S.C. § 3553(a)(2). Section 3553(a) directs the court to consider
13
     a number of additional factors, including the nature and circumstances of the offense, §
14
     3553(a)(1); the history and characteristics of the defendant, § 3553(a)(1); the kinds of sentences
15
     available, § 3553(a)(3); the sentencing guideline range, § 3553(a)(4); pertinent Sentencing
16
     Commission policy statements, § 3553(a)(5); the need to avoid unwarranted sentencing
17
     disparities, § 3553(a)(6); and, the need to provide restitution to any victims of the offense, §
18
     3553(a)(7). the court is required to consider all of the factors under 18 U.S.C. § 3553(a), and not
19
     just the guidelines.
20
             A.      The Offense Level is Not Based on Empirical Evidence and Should Not Be
21                   Relied Up by The Court
22           The PSR calculates Mr. Bolds offense level as 34 and criminal history category as VI.
23   The offense level, however, should be given no weight by the Court because it was established
24   based on the statutory mandatory minimum enacted by Congress and is not based on empirical
25   evidence.
26           The Supreme Court has repeatedly emphasized the importance of empiricism in
27   promulgating Sentencing Guidelines. See Rita v. United States, 551 U.S. 338, 349 (2007); Gall v.
28   United States, 552 U.S. 38, 46 & n. 2; Kimbrough v. United States, 552 U.S. 85 (2007). When

     U.S. v. Bolds, Case No. 11-0697 CRB;
     Def.’s Sentencing Memo.                           5
          Case 3:11-cr-00697-CRB Document 151 Filed 08/01/14 Page 7 of 12



 1   developing the original Guidelines, the Sentencing Commission, unable to reconcile the varied
 2   and occasionally contradictory goals of federal sentencing, eschewed philosophical debate in
 3   favor of an objective examination of past sentences. Rita, 551 U.S. at 349. It thus adopted “an
 4   ‘empirical approach,’ beginning with an empirical examination of 10,000 presentence reports
 5   setting forth what judges had done in the past and then modifying and adjusting past practice in
 6   the interests of greater rationality, avoiding inconsistency, complying with congressional
 7   instructions, and the like.” Rita, 551 U.S. at 349 (citing U.S.S.G. Ch. 1, Pt. A(3) (1988)).
 8           When the Commission follows these steps – relying on past practice, then reviewing and
 9   revising the guidelines in response to data and feedback from judges and others in the field – then
10   it may be “fair to assume” that the guideline “reflect[s] a rough approximation” of sentences that
11   “might achieve 3553(a) objectives,” if the case is “typical.” Rita, 551 U.S. at 349. However,
12   when a guideline is not the product of “empirical data and national experience,” it is not an abuse
13   of discretion to conclude that it fails to achieve the § 3553(a)’s purposes, “even in a mine-run
14   case.” Kimbrough, 552 U.S. at 109-10. Indeed, a district court commits procedural error when it
15   ignores a Kimbrough argument and fails to appreciate its discretion to vary from a guideline
16   based on a categorical policy disagreement with it. See United States v. Henderson, 649 F.3d
17   955, 964 (9th Cir. 2011).
18           Here, the base offense level of 30 under U.S.S.G. § 2G1.3(a)(2) is based solely upon the
19   mandatory minimum statute provided by the statute and is not based on any empirical evidence.
20   For example, section 1591(b)(1) mandates a minimum sentence of 15 years in prison and USSG
21   2G1.3(a)(1) fixes the base offense level at 34 (which carries a sentence of 12.5 to 15.5 years for
22   Category I offenders). The base offense level for conspiracy is 24, which was the base offense
23   level set when the mandatory minimum sentence was five years. See USSG Appendix C,
24   Amendment 664 at 60 (“Third, this amendment creates a new guideline, §2G1.3 … to
25   specifically address offenses under chapter 117 of title 18, United States Code …. This new
26   guideline has a base offense level of level 24 to account for the new mandatory minimum terms
27   of imprisonment established by the PROTECT Act.”); Amendment 701 (adding levels 34, 30,
28   and 28 to accommodate new congressional mandatory minimum sentences required by section

     U.S. v. Bolds, Case No. 11-0697 CRB;
     Def.’s Sentencing Memo.                          6
          Case 3:11-cr-00697-CRB Document 151 Filed 08/01/14 Page 8 of 12



 1   1591).
 2            Additionally, any sentencing done since the enactment of this Guideline section would be
 3   unfairly skewed by the artificially inflated offense level making it nearly impossible to ascertain
 4   what sentences would normally be imposed absent the unjust elevated offense level. In the end,
 5   the Court must do its own evaluation of the § 3553(a) factors in this particular case to determine
 6   what a fair and reasonable sentence is since the Guidelines utterly fail at that task.
 7            B.      A Sentence of Ten Years Would Avoid Unwarranted Disparities in
                      Sentencing
 8
              Just this week, the Honorable Edward M. Chen sentenced two defendants in a similar
 9
     case, United States v. Jackson, et al, Case No. 13-363 EMC. In that case, the defendants
10
     admitted to conspiracy to engage in sex trafficking of minors that included a great deal of
11
     physical force. There, Judge Chen sentenced one defendant to 50 months and the other to 18
12
     months. In another case in this district, Chief Judge Wilken ordered that a defendant by granted
13
     post-plea diversion on a similar charge of sex trafficking of a minor. See United States v.
14
     Samantha Lewis, Case No. 13-315 CW. In yet another similar case in this District, United States
15
     v. Singh et al, Case No. 11-0883 PJH, the Honorable Phyllis J. Hamilton sentenced each of the
16
     two defendants to terms of 108 months imprisonment. Thus, a ten year sentence would be
17
     greater than other similarly situated defendants and would help to avoid unwarranted disparities
18
     in sentencing.
19
              C.      Mr. Bolds Conduct is Not the Primary Focus of the Federal Law and the
20                    Associated Penalties
21            While the charge against Mr. Bolds is referred to as “Sex Trafficking of a Minor,” which
22   sounds as the most ominous and egregious of charges, let us not be mistaken that this is a
23   pimping case. It is a pimping case just like the thousands of pimping cases that come through
24   state courts on a daily basis. The difference here was the line between California and Nevada –
25   indeed, had this offense occurred solely in California, and Mr. Bolds not gone the 13.4 miles
26   from the border of California into Reno, this would not be a federal offense. That is not to
27   minimize the seriousness of the offense. It is, of course, an incredibly serious offense; however,
28   it is not the “human trafficking” that Congress was most concerned about in enacting the statute

     U.S. v. Bolds, Case No. 11-0697 CRB;
     Def.’s Sentencing Memo.                           7
          Case 3:11-cr-00697-CRB Document 151 Filed 08/01/14 Page 9 of 12



 1   and its penalties. See H.R. CONF. REP. 106-939, 89 (“Section 2 of the House bill also includes
 2   findings to the effect that every year millions of people, predominantly women and children, are
 3   trafficked within or across international borders; that many victims are trafficked into the
 4   international sex industry, often through force, fraud, or coercion; that trafficking in persons is
 5   not limited to sex trafficking, but often involves forced labor and other violations of human
 6   rights; that trafficking is a growing transnational problem that is increasingly perpetrated by
 7   organized criminal enterprises; that existing legislation and law enforcement in the United States
 8   and abroad are inadequate to deter trafficking, bring traffickers to justice, and meet the safe
 9   reintegration needs of trafficking victims; that in some countries, anti-trafficking efforts are
10   hindered by official indifference, corruption, and sometimes even official participation in
11   trafficking; that trafficking in persons is a matter of pressing international concern, and that the
12   United States must work bilaterally and multilaterally to abolish trafficking and protect
13   trafficking victims.”)
14           Moreover, as the evidence at trial showed: SG was the one who first approached Mr.
15   Bold; he was not out looking to find her. She told him she was 18 and repeated that to him and
16   everyone else she met, including the officers who eventually arrested her. She willingly came
17   back to his hotel room with him, and then went with him to Oakland on her own volition. The
18   video at the greyhound station, as well as SG’s own testimony, make that very clear. Moreover,
19   as she stated when she was first arrest and as she affirmed at trial: she decided to prostitute after
20   she and Mr. Bolds discussed the fact that doing so would enable her to buy dope, have her hair
21   done, and buy new clothes, shoes and makeup. Even the government must concede that Mr.
22   Bolds is not alleged to be the violent “gorilla pimp,” who regularly beats up the women working
23   for him as a means of control, as is often seen in these types of cases.
24           These facts are also confirmed in the letter from Thessalonica Jackson. Linker Decl., Ex.
25   D. While Ms. Jackson did not testify at trial, she has provided a letter for sentencing purposes to
26   express her perspective on how she was treated by Mr. Bolds and what she saw between Mr.
27   Bolds and SG. Id. Amongst other things, Ms. Jackson stated the following:
28           Roderick never showed me a violent side and I never saw him get violent with Sara or

     U.S. v. Bolds, Case No. 11-0697 CRB;
     Def.’s Sentencing Memo.                           8
            Case 3:11-cr-00697-CRB Document 151 Filed 08/01/14 Page 10 of 12



 1            anyone else. Sara never told me she wanted to leave and she could leave the house when
              she wanted to. I eventually left because I wanted to move.
 2
     Id.
 3
              In short, Mr. Bolds individual conduct is not worthy of a sentence any higher than 10
 4
     years.
 5
     II.      A SENTENCE SIGNIFICANTLY HIGHER THAN THAT AGREED TO BY THE
 6            GOVERNMENT IN THE ORIGINAL PLEA AGREEMENT WOULD VIOLATE
              MR. BOLDS’ SIXTH AMENDMENT RIGHT TO TRIAL
 7
              A criminal defendant may not be subjected to more severe punishment for asserting his
 8
     right to stand trial. United States v. Medina-Cervantes, 690 F.2d 715, 716 (9th Cir.1982); United
 9
     States v. Stockwell, 472 F.2d 1186, 1187 (9th Cir. 1973). The government’s request for a
10
     sentence of 30 years reflects a clear violation of Mr. Bolds Sixth Amendment right to trial as it is
11
     three times the sentence the government asserted was reasonable prior to trial, even though the
12
     evidence undoubtedly came in more favorably to Mr. Bolds than was anticipated before trial.
13
     Indeed, the jury did not agree with the government on the most serious allegation against Mr.
14
     Bolds – that he used force, fraud or coercion to cause SG to engage in prostitution. Moreover,
15
     the government’s witness for the most serious allegations against Mr. Bolds, Chanell Rensch,
16
     was clearly not telling the truth. While the government discussed Ms. Rensch a great deal before
17
     trial, since she was actually placed under oath and subjected to cross-examination, the
18
     government has not relied on her statements at all. In short, the facts that are now known after
19
     trial reveal that the situation, and Mr. Bolds’ conduct, was not as egregious as believed pretrial.
20
     As such, Mr. Bolds’ sentence should reflect that new understanding of the facts.
21
     III.     A SENTENCE MORE THAN TEN YEARS WOULD BE AN ANOMALY AND
22            WOULD NOT COMPORT WITH ALL OF THE § 3553(a) FACTORS
23            As explained above, Mr. Bolds had an incredibly difficult upbringing. His mother was
24   addicted to drugs in a way that made her unable to care for her children and she died of AIDS at a
25   young age. His father was never present for him in any significant way. He had no meaningful
26   parental support and was left to care for himself and his sisters. He did the best he could, and as
27   his sister explains, he did right by her: making sure she got an education and had all of the
28   opportunities that he did not have. With his efforts, she now finds herself as a successful police

     U.S. v. Bolds, Case No. 11-0697 CRB;
     Def.’s Sentencing Memo.                           9
         Case 3:11-cr-00697-CRB Document 151 Filed 08/01/14 Page 11 of 12



 1   officer in New Orleans, Louisiana, while he finds himself facing a lengthy stretch in federal
 2   prison. His lack of any guidance and his remarkable efforts to provide for his sisters are
 3   extraordinary and worthy of consideration by the Court. The letters from Mr. Bolds’ family
 4   show that Mr. Bolds is a more complicated and caring individual than he appears from his
 5   offense conduct and criminal history.
 6           Moreover, a sentence of ten years imprisonment will be a dramatic escalation in
 7   punishment for Mr. Bolds, and adequately reflects the seriousness of the offense, promotes
 8   respect for the law and provides adequate deterrence. One has to question what purpose would
 9   be served for a sentence longer than ten years. Ten years – 120 months – is an incredibly long
10   period of time. Statistics from the United States Sentencing Commission reveal that the average
11   sentence in all federal offenses in fiscal year 2013 was 45 months; the average sentence in sexual
12   assault cases was 137 months; and, the average in child pornography cases was 136 months.
13   U.S.S.C.’s 2013 Sourcebook of Federal Sentencing Statistics, Table 13, available at
14   http://www.ussc.gov/sites/default/files/pdf/research-and-publications/annual-reports-and-sourceb
15   ooks/2013/Table13.pdf.1 In the Northern District of California, the average sentence in 2013 for
16   all offenses was 52 months. Northern District of California Sentencing Statistics 2013, available
17   at http://www.ussc.gov/sites/default/files/pdf/research-and-publications/annual-reports-and-
18   sourcebooks/2013/stats_CAN.pdf. This shows how dramatic – and incredibly severe – a
19   sentence of 120 months imprisonment would be.
20
             1
              It appears that “sex trafficking of a minor” would must likely be included in the
21
     U.S.S.C.’s statistics for child pornography. The 2013 sourcebook states the following:
22           Pornography/Prostitution includes dealing in obscene matter, transportation of minor for
             prostitution, transportation for prostitution/sex (adult), sexual exploitation of minors,
23           materials involving sexual exploitation of minors, obscene telephone or broadcasting, and
             selling or buying children for pornography. This primary offense category was
24           discontinued in fiscal year 2010. Some of the offenses that were grouped into this
25           primary offense category in prior fiscal years are grouped into the Child Pornography
             primary offense type. All other offenses that were grouped into this primary offense
26           category in priorfiscal years are included in the Other Miscellaneous Offenses primary
             offense category.
27   U.S.S.C.’s 2013 Sourcebook, Appendix A, available at
28   http://www.ussc.gov/sites/default/files/pdf/research-and-publications/annual-reports-and-sourceb
     ooks/2013/Appendix_A.pdf
     U.S. v. Bolds, Case No. 11-0697 CRB;
     Def.’s Sentencing Memo.                         10
         Case 3:11-cr-00697-CRB Document 151 Filed 08/01/14 Page 12 of 12



 1                                           CONCLUSION
 2           For the foregoing reasons, defendant Roderick Bolds submits that a sentence of ten years
 3   imprisonment is sufficient to achieve the goals of sentencing pursuant to 18 U.S.C. § 3553(a).
 4   Date: July 31, 2014
                                                  Respectfully submitted,
 5
 6
 7                                                JODI LINKER
                                                  Assistant Federal Public Defender
 8
 9
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

     U.S. v. Bolds, Case No. 11-0697 CRB;
     Def.’s Sentencing Memo.                        11
